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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


  LEEANN GALEA,
       Plaintiff,                                             No. 3:19-cv-225 (SRU)

          v.

  LAW OFFICES OF CARY ALAN CLIFF,
  et al.,
          Defendants.

                             ORDER ON MOTION TO COMPEL

       On July 6, 2023, I held a telephonic hearing on-the-record regarding the motion to

compel submitted by the plaintiff, Leeann Galea (“Galea”). See Doc. No. 142. Both Galea and

Tom Plumridge (“Plumridge”), counsel for the defendant Silver Hill Hospital, were present at

the hearing. For reasons discussed on the record and below, Galea’s motion to compel is granted

in part and denied without prejudice in part.

       First, we discussed the individuals listed in the defendant’s initial disclosures. Galea

seeks an order compelling the defendant to supply the contact information of those individuals.

During the telephonic hearing, I reminded Plumridge of the obligation pursuant to Rule 26 to

disclose, “if known, the address and telephone number of each individual.” Fed. R. Civ. P.

26(a)(1)(A)(i). Galea indicated that she only seeks the addresses and phone numbers of a subset

of the individuals listed on the defendant’s initial disclosures. Accordingly, Galea shall provide

that list of individuals to Plumridge, and Plumridge shall supply Galea with the known contact

information for those individuals. To the extent that Galea later seeks additional information

regarding the individuals listed on the initial disclosures, the parties are instructed to meet and

confer regarding that request, and if the parties fail to resolve the dispute the Court will take up

the matter.
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       We next addressed Galea’s interrogatories. I began by informing Galea that some of her

interrogatories were indeed overbroad and burdensome, while others were appropriate. I ordered

the following:

           •     Regarding Interrogatory 7(a), to the extent that Galea requests the facts on which

                 the defendant has based the denial of a provision of the claim, the defendant shall

                 disclose those facts. However, the defendant is permitted to respond to

                 Interrogatory 7(a) in a piecemeal matter, as the case progresses and as the

                 defendant collects the facts it needs to respond.

           •     Regarding Interrogatories 7(b), 7(c), and 8, I deferred Galea’s motion to compel.

                 The parties should confer after the defendant responds to Interrogatory 15. At that

                 point, the motion can be renewed if responses to Interrogatories 7(b), 7(c), and 8

                 remain relevant.

           •     Regarding Interrogatory 15, I ordered the defendant to answer that interrogatory. I

                 explained that Interrogatory 15 concerns the decision or instruction regarding

                 accepting non-hospital documents, and it does not concern a policy. In responding

                 to Interrogatory 15, the defendant shall identify the requested employees and

                 indicate each individual’s position and role during the relevant timeframe.

           •     Regarding Interrogatories 9, 10, 14, I reminded Galea that interrogatory requests

                 that, in effect, ask the opposing party to conduct legal research on behalf of the

                 other party are not appropriate for discovery. Thus, to the extent that

                 Interrogatories 9 and 10 request legal research concerning state and federal

                 regulations, the defendant has no obligation to respond. However, institutional

                 policies and requirements may be relevant to Galea’s claim. In particular, hospital


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               policies regarding progress notes and inpatient and interpersonal communications

               about patients, to the extent that those policies exist, would be relevant to Galea’s

               implied contract claim. Accordingly, the defendant is ordered to respond in part to

               Interrogatories 9 and 10, and in full to Interrogatory 14.

           •   Regarding Interrogatory 25, to the extent that the interrogatory requests legal

               research concerning state and federal regulations, the defendant has no obligation

               to respond. However, the defendant is ordered to respond to the request to the

               extent it seeks information regarding retention and destruction of original hospital

               patient files.

           •   Regarding Interrogatory 24, I sustain the defendant’s objection to the

               interrogatory as irrelevant and unlikely to lead to discovery of admissible

               evidence.

       In addition, I informed Galea that when the defendant answers an interrogatory by stating

that they are “not aware” of something “at this time,” that does not necessarily evince bad faith

or an intent to deceive. It merely means that the defendant is answering those interrogatories

based on knowledge it possesses at that point in time. Later, Galea may wish to request an update

from the defendant to ascertain whether the defendant has obtained new information that would

be responsive to her interrogatory requests.

       During the telephonic hearing, I set a deadline of 21 days, or on or before July 27, 2023,

for the defendant to produce documents in response to Galea’s requests.

       Finally, we discussed modifying the discovery schedule because the deadline for

discovery has lapsed. I ordered the parties to meet and confer regarding the schedule. During the




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hearing, I ordered that in two weeks, on or before July 20, 2023, the parties shall meet, confer,

and jointly propose a new schedule and deadlines.

       So ordered.

Dated at Bridgeport, Connecticut, this 13th day of July 2023.


                                                             /s/ STEFAN R. UNDERHILL
                                                             Stefan R. Underhill
                                                             United States District Judge




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